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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------------------X
Eli Campbell
                             Plaintiff,                                                      COMPLAINT AND
                                                                                             JURY DEMAND

                    -against-

THE CITY OF NEW YORK, NYPD OFFICER WILLIAM STEWART,
POLICE OFFICERS JOHN DOE # 1 to approximately # 10, the names
being fictitious, presently unknown, in their individual and official
capacities as employees of the New York City Police Department
                             Defendants.
-----------------------------------------------------------------------------------------X

Plaintiff, by his attorney, Gregory Zenon, Esq., of The Law Office of Gregory Zenon, alleges the following, upon
information and belief for this Complaint:

                            NATURE OF THE ACTION / PRELIMINARY STATEMENT

1.       This is a civil rights action for money damages brought pursuant to 42 U.S.C. §§ 1981, 1983, and 1988, the

Fourth, Fifth, and Fourteenth Amendments of the United States Constitution, Article I, Sections 6, 11, and 12 of the

Constitution of the State of New York, and the common law of the State of New York, against the City of New

York, the New York City Police Department, and against Defendant Police Officers named and unnamed, police

officers of the City of New York, in their individual and official capacities. Plaintiff seeks compensatory and

punitive damages, affirmative and equitable relief, an award of attorneys’ fees and costs, and such other relief as

this Court deems equitable and just.

                                                          JURISDICTION

2.       This Court has subject matter jurisdiction over the federal claims pursuant to 28 U.S.C. §1331 and 28
U.S.C. §1343 (3) and (4). Plaintiff also asserts jurisdiction over the City of New York under 28 U.S.C. §1331 and
§1367. Plaintiff requests this Court exercise pendent jurisdiction over those state law claims arising out of the same
common nucleus of operative facts as Plaintiff’s federal claims.


                                                       NOTICE OF CLAIM
3.       A notice of claim was duly filed with the City of New York within the relevant statutory period over 30
days ago; a 50-hearing has occurred; and the City has inadequately offered to settle Plaintiff’s state law claims.
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                                                        VENUE

4.      Under 28 U.S.C. § 1391(b), venue is proper in the Eastern District of New York because the defendants
NEW YORK CITY POLICE OFFICERS named and unnamed have their Precincts within the boundaries of said
District and also said district is where the incident giving rise to the claims occurred.
                                                        PARTIES

5.      Plaintiff at all times relevant hereto resided in the City and State of New York.
6.      That at all times hereinafter mentioned, and upon information and belief, the defendant, THE CITY OF
NEW YORK, was at all times relevant hereto, a municipal corporation duly organized and existing pursuant to the
laws, statutes and charters of the State of New York.
7.      THE NEW YORK CITY POLICE DEPARTMENT was at all times relevant hereto, an agency of the
defendant THE CITY OF NEW YORK.

8.      That at all times hereinafter mentioned, and on information and belief, defendant Police Officers were at all
times relevant hereto, employees of the defendant CITY OF NEW YORK, as police officers employed by THE
NEW YORK CITY POLICE DEPARTMENT.

9.      At all times mentioned herein, defendants acted under color of state and local law, to wit, under color of
statutes, ordinances, regulations, policies, customs and usages of the City of New York and the State of New York.

10.     That at all times hereinafter mentioned, and upon information and belief, defendant police officers herein
acted both personally and in their official representative capacities as police officers employed by the defendants,
THE CITY OF NEW YORK and THE NEW YORK CITY POLICE DEPARTMENT. And that each and all of the
acts of the individual defendants alleged herein were done by the individual defendants and each of them under
cover and pretense of the statutes and laws of the State of New York, and under and by virtue of their authority as
police officers and employees of defendant, THE CITY OF NEW YORK.

11.     That as a result of the foregoing, the defendant, THE CITY OF NEW YORK, is liable for the individual
defendant’s acts pursuant to the doctrine of “respondeat superior.”

                                                 FACTUAL ALLEGATIONS

12.     Plaintiff is a 28-year-old African American US citizen who has been targeted by the NYPD as a result of
racial animus.
13.     On 12 February 2014, at approximately 1:30PM Plaintiff was walking on a public sidewalk in the vicinity
of 132 Vanderbilt Avenue, Staten Island, NY, to visit a friend named Richard. As plaintiff turned a street corner, he
observed that Defendant Officers had detained Richard and were searching him and his vehicle.
14.     Upon seeing plaintiff, Defendant Officers approached plaintiff, seized him by the arm and forced him to
stand at the back of the vehicle they had been searching.
15.     Without cause or justification Defendant Officers searched plaintiff but found no contraband.
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16.     Without cause or justification plaintiff was handcuffed and forced into a police van and taken to the 120
Precinct.
17.     During the ride Defendant Officers menaced plaintiff by telling him that they knew his family, referring to
plaintiff’s brother who had been wrongfully incarcerated and released. Defendant Officers demanded plaintiff
informed them of his brother’s whereabouts. Plaintiff complied and gave Defendant Officers his brother’s current
address, in hopes of being released, as he had committed no crime.
18.     Without cause or justification, Defendant Officers proceeded to the precinct where plaintiff was subjected
to a second search, a humiliating six-minute long strip search; again no contraband was found.
19.     Without cause or justification, plaintiff was also fingerprinted and photographed.
20.     Without cause or justification, Defendant Officers continued to harass and menace plaintiff, making
inquiries about his brother and insinuating that Plaintiff was guilty of association. Defendant Officers continuously
disparaged and insulted plaintiff’s family. Defendant Officers instructed plaintiff to make sure that his family knew
that the NYPD knew all about his family.
21.     Without cause or justification, Defendant Officers then demanded that plaintiff provide them with
information about where they could find illegal guns.
22.     Plaintiff was not charged with any crimes.
23.     Plaintiff was never informed as to why he had been taken into custody.
24.     Without cause or justification, plaintiff was incarcerated for approximately 23 hours before he was
released.
25.     Without cause or justification, plaintiff was denied proper food and phone calls during his detainer.
26.     As a result of the incident, Plaintiff sought increased mental health therapy and counseling for depression
and insomnia and was given prescription medication as part of his treatment.
27.     Due to this local police harassment, plaintiff felt so unsafe and was so scared that he had to move from his
family’s home in Staten Island into a men’s shelter in Brooklyn, where he continued to receive counseling and
therapy for issues related to this incident.
28.     Plaintiff’s arrest, prosecution, and incarceration were committed without legal process and without
probable cause.
29.     Defendant Officers acted maliciously and intentionally, and are examples of gross misconduct.
30.     As a direct and proximate result of the malicious and outrageous conduct of defendants as set forth above,
Plaintiff suffered injuries including but not limited to assault and battery, emotional trauma, harm and distress,
mental anguish, fear, embarrassment, and humiliation, loss of liberty, loss of property, psychological injury an
suffering.
                                        FIRST CAUSE OF ACTION
                               (FALSE ARREST AND ILLEGAL IMPRISONMENT)

31.     Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
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32.      Defendants subjected Plaintiff to false arrest, imprisonment, and deprivation of liberty without probable
cause.
33.      Defendants have deprived Plaintiff of civil, constitutional and statutory rights and have conspired to
deprive Plaintiff of such rights and are liable to Plaintiff under 42 U.S.C. §§ 1983 and 1985 and the New York State
Constitution.
34.      As a result of the false arrest, imprisonment, and deprivation of liberty, Plaintiff was damaged in the sum of
One Million ($1,000,000.00) Dollars each.


                                   SECOND CAUSE OF ACTION
              (MUNICIPAL LIABILTY and NEGLIGENT HIRING, TRAINING and SUPERVISION)

35.      Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
36.      Defendant CITY OF NEW YORK is liable for the damages suffered by the Plaintiff as a result of the
conduct of its employees, agents, and servants.
37.      Defendant CITY OF NEW YORK knew or should have known of their employees’, agents’, or servants’
propensity to engage in the illegal and wrongful acts detailed above.
38.      Upon information and belief, defendants and their supervisors have in the past falsely arrested individuals
without probable cause, and made, and allowed other fellow police officers to make false entries in official police
department records to cover up and hide their wrongful conduct.
39.      Defendant CITY OF NEW YORK has failed to take steps necessary to discipline, train, supervise or
otherwise correct the improper, illegal conduct of the individual defendants in this and in similar cases involving
misconduct.
40.      Defendant CITY OF NEW YORK has damaged the Plaintiff by its failure to properly supervise, train,
discipline, review, remove, or correct the illegal and improper acts of its employees, agents or servants in this and
in similar cases involving police misconduct.
41.      Defendants subjected Plaintiff to false arrest and false imprisonment.
42.      Plaintiff has been damaged as a result of the wrongful, negligent and illegal acts of the defendant CITY OF
NEW YORK in the amount of One Million ($1,000,000.00) Dollars each.


                                            THIRD CAUSE OF ACTION
                                             (FOURTH AMENDMENT)

43.      Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
44.      Defendant Officers arrested Plaintiff subjecting him to false arrest, imprisonment and deprivation of liberty
with probable cause.
45.      That as a result of the foregoing, Plaintiff has been deprived of his following rights, privileges and
immunities secured by the constitution and the laws of the United States: the right to be secure in his person and
effects against unreasonable search and seizure under the Fourth and Fourteenth Amendments; the rights of the
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Plaintiff not to be deprived of life, liberty or property without due process of law under the Fourth and Fourteenth
Amendments; and the right to be free from a deprivation of his civil rights in violation of the statutes made and
provided.
46.     Plaintiff has been damaged as a result of the wrongful, negligent and illegal acts of the defendant CITY OF
NEW YORK in the amount of One Million ($1,000,000.00) Dollars each.


                                          FOURTH CAUSE OF ACTION
                                          (FOURTEENTH AMENDMENT)

47.     Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
48.     Defendant Officers illegally arrested Plaintiff subjecting him to false arrest, imprisonment and deprivation
of liberty with probable cause.
49.     That as a result of the foregoing, Plaintiff has been deprived of the following rights, privileges and
immunities secured by the constitution and the laws of the United States: the right to be secure in person and effects
against unreasonable search and seizure under the Fourth and Fourteenth Amendments; Plaintiff’s rights not to be
deprived of life, liberty or property without due process of law under the Fourth and Fourteenth Amendments; and
the right to be free from a deprivation of his civil rights in violation of the statutes made and provided.
50.     Plaintiff has been damaged as a result of the wrongful, negligent and illegal acts of the defendant CITY OF
NEW YORK in the amount of One Million ($1,000,000.00) Dollars each.


                                          FIFTH CAUSE OF ACTION
                                       (ASSAULT and EXCESSIVE FORCE)

51.     Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
52.     That the Court has pendant jurisdiction of this claim.
53.     That as a result of the foregoing, Defendant Officers intentionally put the Plaintiff in fear and fright of
imminent physical harm.
54.     Plaintiff has been damaged as a result of the wrongful, negligent and illegal acts of Defendant Officers,
NEW YORK CITY POLICE DEPARTMENT, and CITY OF NEW YORK in the amount of One Million ($
1,000,000.00) Dollars each.
                                           SIX CAUSE OF ACTION
                                       (BATTERY and EXCESSIVE FORCE)

55.     Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
56.     Defendant Officers battered the Plaintiff.
57.     Plaintiff has been damaged as a result of the wrongful, negligent and illegal acts of Defendant Officers,
NEW YORK CITY POLICE DEPARTMENT, and CITY OF NEW YORK in the amount of One Million
($1,000,000.00) Dollars each.
                                          SEVENTH CAUSE OF ACTION
                                           (MALICIOUS PROSECUTION)
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58.      Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
59.      Defendants caused a false accusatory instrument to be filed against Plaintiff.
60.      The criminal instrument was dismissed and the criminal proceedings favorably terminated.
61.      Defendants have deprived Plaintiff of civil, constitutional and statutory rights and have conspired to
deprive him of such rights and are liable to Plaintiff under 42 U.S.C. §§ 1983 and 1985 and the New York State
Constitution.
62.      Plaintiff was damaged in the sum of One Million ($1,000,000.00) Dollars each as a result of the malicious
prosecution implemented by the defendants.


                                 EIGHTH CAUSE OF ACTION
           (CONDITIONS of CONFINEMENT/DELIBERATE INDIFFERENCE to MEDICAL NEEDS)

63.      Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
64.      Defendant Officers subjected Plaintiff to unlawful harassment and arrest.
65.      As a result of Defendants’ conduct, Plaintiff suffered a loss of freedom and theft of property.

                                               NINTH CAUSE OF ACUTION
                                                (DENIAL of a FAIR TRIAL)
66.      Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
67.      Defendant’s misrepresentations about Plaintiff to prosecutors deprived Plaintiff of liberty because he was
required to appear in court after the misrepresentations were made.

68.      Accordingly, defendants are liable to Plaintiff under the Sixth Amendment for denial of a fair trial.

69.      As a result, Plaintiff suffered the injuries as set forth within this complaint.

                                                TENTH CAUSE OF ACTION
                                            (CRUEL and UNUSUAL PUNISHMENT)


70.      Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
71.      As a result of defendants’ conduct, Plaintiff unnecessarily suffered cruel and unusual punishment.


                                              ELEVENTH CAUSE OF ACTION
                                                        (NEGLIGENCE)
72.      Plaintiff repeats and realleges the foregoing paragraphs as though fully set forth herein.
73.      Defendants’ owed a duty to Plaintiff who was a prisoner in the custody and care of defendants.
74.      Defendants breached their duty to Plaintiff.
75.      As a result, Plaintiff suffered injuries.
                                                REQUEST FOR RELIEF

      WHEREFORE, Plaintiff demands judgment against the defendants, jointly and severally as follows:
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   A. In favor of Plaintiff in the amount of One Million ($1,000,000.00) Dollars each on each of Plaintiff’s
   Causes of Action;

   B. Awarding Plaintiff punitive damages in the amount of One Million ($1,000,000.00) Dollars each on each of
   Plaintiff’s Causes of Action;

   C. Awarding Plaintiff reasonable attorney’s fees, costs and disbursements of this action;

   D. Granting such other and further relief as this Court deems just and proper.

                                                 JURY DEMAND

   Plaintiff demands a jury trial.

Dated: 27 September 2016
       New York, New York
                                       ______________/s/_________________________
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